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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 Special Counsel to the Plan Administrator

 In re:                                                             Chapter 11

 BED BATH & BEYOND, INC., et al.,1                                  Case No. 23-13359 (VFP)

                                   Debtor.                          (Jointly Administered)


 Michael Goldberg, as Plan Administrator for
 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath &
 Beyond Inc.),2
                                        Plaintiff,
                                                                   Adv. No. Refer to Summons
 v.

 HMM (America), Inc. fdba H.M.M. Co., Inc.,
                                  Defendant.

     COMPLAINT TO AVOID AND RECOVER TRANSFERS PURSUANT TO 11 U.S.C. §§
      547, 548, AND 550 AND TO DISALLOW CLAIMS PURSUANT TO 11 U.S.C. § 502




 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor
 Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is
 650 Liberty Avenue, Union, New Jersey 07083.
 2
   Pursuant to the Certificate of Amendment of the Certificate of Incorporation of Bed Bath & Beyond Inc., which was
 filed with the State of New York Department of State on September 21, 2023, the name of the entity formerly known
 as “Bed Bath & Beyond Inc.” was changed to 20230930-DK-Butterfly, Inc. [Filing ID No. 230921001833 DOS ID
 315602].



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        Michael Goldberg, in his capacity as Plan Administrator (the “Plaintiff” or “Plan

 Administrator”) for 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath & Beyond Inc.) and its

 affiliated debtors (each, a “Debtor” and collectively, the “Wind-Down Debtors” or “Debtors”) in

 the above-captioned case, files this complaint (the “Complaint”) to avoid and recover transfers

 against HMM (America), Inc. fdba H.M.M. Co., Inc. (the “Defendant”) and to disallow any claims

 held by Defendant. In support of this Complaint, Plaintiff alleges upon information and belief that:

                                     NATURE OF THE CASE

        1.      Plaintiff seeks to avoid and recover from Defendant, or from any other person or

 entity for whose benefit the transfers were made, all preferential transfers of property that occurred

 during the ninety (90) day period prior to the commencement of the Debtors’ bankruptcy

 proceedings pursuant to sections 547 and 550 of chapter 5 of title 11 of the United States Code

 (the “Bankruptcy Code”) and, subject to proof, (b) transfers that may have been fraudulent

 conveyances pursuant to sections 548 and 550 of the Bankruptcy Code.

        2.      In addition, Plaintiff seeks to disallow, pursuant to sections 502(d) and (j) of the

 Bankruptcy Code, any claim that Defendant has filed or asserted against the Debtors or that has

 been scheduled for Defendant. Plaintiff does not waive but hereby reserves all of its rights to object

 to any such claim for any reason, including, but not limited to, any reason set forth in sections

 502(a) through (j) of the Bankruptcy Code.

                                  JURISDICTION AND VENUE

        3.      The United States Bankruptcy Court for the District of New Jersey (the “Court”)

 has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§ 157 and 1334(b). The

 underlying chapter 11 bankruptcy case is captioned In re Bed Bath & Beyond, Inc., Case No. 23-

 13359 (VFP).




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        4.       This adversary proceeding is a “core” proceeding to be heard and determined by

 the Court pursuant to 28 U.S.C. § 157(b)(2). Plaintiff consents to entry of final orders and judgment

 by the Court.

        5.       Venue of the Debtors’ chapter 11 case and this adversary proceeding is proper in

 this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        6.       The statutory and legal predicates for the relief sought herein are sections 502, 547,

 548, and 550 of the Bankruptcy Code and Rules 3007 and 7001 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”).

                                 PROCEDURAL BACKGROUND

        7.       On April 23, 2023 (the “Petition Date”), each Debtor, including Bed Bath &

 Beyond Inc. (“BB&B”), filed a voluntary petition for relief under chapter 11 of the Bankruptcy

 Code (the “Chapter 11 Cases”). During the Chapter 11 Cases, the Debtors continued to operate

 their businesses and manage their properties as debtors in possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code.              The Chapter 11 Cases were procedurally

 consolidated and jointly administered pursuant to Bankruptcy Rule 1015(b).

        8.       On September 14, 2023, the Court entered the Findings of Fact, Conclusions of

 Law, and Order (I) Approving the Disclosure Statement on a Final Basis and (II) Confirming the

 Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates

 [ECF No. 2172] (the “Confirmation Order”), confirming the Second Amended Joint Chapter 11

 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates [ECF No. 2160] (as amended, the

 “Plan”).
        9.       On September 29, 2023, the effective date of the Plan occurred (the “Plan

 Effective Date”). On the Plan Effective Date, the Plan Administrator became the sole

 representative of the Wind-Down Debtors. See Plan, Article IV, at § F.


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                                            THE PARTIES

           10.     Pursuant to the Plan and the Confirmation Order, Plaintiff assumed responsibility

 for, inter alia, investigating, prosecuting, and compromising any and all of the Wind Down

 Debtors’ causes of action including claims under chapter 5 of the Bankruptcy Code.

           11.     Upon information and belief, Defendant was, at all relevant times a vendor or

 creditor that was a global integrated logistics and shipping company to or for the Debtors. Upon

 further information and belief, at all relevant times, Defendant’s principal place of business has

 been and is located at 222 Las Colinas Boulevard West, Suite 700, Irving, Texas 75039. Plaintiff

 is informed and believes and on that basis alleges that Defendant is a corporation residing in and

 subject to the laws of California.

                                        FACTUAL BACKGROUND

           12.     As more fully discussed in the Amended Disclosure Statement Relating to the

 Amended Joint Chapter 11 Plan of Bed Bath & Beyond, Inc. and Its Debtor Affiliates (the

 “Disclosure Statement”),3 the Debtors were the largest home goods retailer in the United States,

 offering everything from bed linens to cookware to home organization, baby care, and more. At

 their peak, the Debtors operated over 970 stores across all 50 states and had additional operations

 spanning Canada, Mexico, and Puerto Rico.

           13.     As with many brick and mortar retailers, the Debtors were very negatively impacted

 by the COVID-19 pandemic. However, the twelve months prior to the Petition Date were the most

 difficult and turbulent in the Debtors’ storied history. From “meme stock” mania to credit

 agreement defaults and back again, the Debtors explored various potentially value-maximizing

 alternatives in an effort to turn around their business and stave off chapter 11. In response to both


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 macroeconomic factors and more specific business challenges, the Debtors’ leadership formulated

 and attempted to implement a turnaround plan that was designed to refocus the business on its

 founding principles and restore consumer confidence. To that end, the Debtors secured credit

 agreement waivers and amendments and were able to access the equity markets in February and

 March of 2023 in a last-ditch effort to avoid bankruptcy. But, in store sales continued to decline—

 with fourth quarter sales falling by almost $1 billion dollars year over year—and strained vendor

 credit relationships which led to a lack of inventory. Ultimately, the Debtors were unable to service

 their funded debt obligations while simultaneously supplying sufficient inventory to their store

 locations.

        14.     As described in Article III, Section B.6 of the Plan, General Unsecured Claims

 comprise an impaired class of creditors and are not expected to be paid in full.

        15.     Prior to the Petition Date, the Debtors maintained business relationships with

 various business entities and individuals, through which the Debtors regularly purchased, sold,

 received, and/or delivered goods and services.

        16.     During the ninety (90) days before and including the Petition Date, that is between

 January 23, 2023, and April 23, 2023 (the “Preference Period”), the Debtors continued to operate

 their business, including the transfer of money, either by checks, cashier checks, wire transfers,

 ACH transfers, direct deposits or otherwise to various entities.

        17.     Upon information and belief, during the course of their relationship, Defendant and

 one or more of the Debtors entered into agreements for the purchase of goods and/or services from

 the Defendant, which are evidenced by one or more contracts, purchase orders, invoices,

 communications, and other documents (collectively, the “Agreements”). The Agreements

 concerned and related to the goods and/or services provided by Defendant to one or more of the




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 Debtors as described in the “Parties” section of this Complaint. The payments to the Defendant in

 respect of the Agreements during the Preference Period are set forth on the Statement of Account,

 which is attached hereto and incorporated by reference as Exhibit A. Such details include “Invoice

 Number,” “Invoice Date,” “Invoice Amount,” and the “Payment Date.”

        18.     One or more of the Debtors made transfer(s) of an interest of the Debtors’ property

 to or for the benefit of Defendant during the Preference Period through payments aggregating not

 less than the amount set forth on Exhibit A hereto (the “Transfer” or “Transfers”). The details of

 each Transfer are set forth on Exhibit A and incorporated by reference. Such details include “Check

 Number,” “Check Amount,” “Check Clear Date,” and “Debtor Transferor(s).”

        19.     Plaintiff is seeking to avoid all of the Transfers made by the applicable Debtor(s)

 to Defendant within the Preference Period.

        20.     On or about February 20, 2024, Plaintiff, through counsel, sent a demand letter (the

 “Demand Letter”) to Defendant, seeking a return of the Transfer(s). The Demand Letter indicated

 the potential statutory defenses available to Defendant pursuant to section 547(c) of the

 Bankruptcy Code and requested that if Defendant had evidence to support any affirmative

 defenses, it provide this evidence so Plaintiff could review the same.

        21.     Plaintiff also performed Plaintiff’s own due diligence evaluation of the reasonably

 knowable affirmative defenses available to Defendant. As part of Plaintiff’s due diligence, Plaintiff

 reviewed the Debtors’ books and records in Plaintiff’s possession and identified that Defendant

 potentially has $0.00 in invoices qualifying for the subsequent new value defense under section

 547(c)(4) of the Bankruptcy Code. However, the subsequent new value defense is an affirmative

 defense, for which Defendant bears the burden of proof under section 547(g). The potential new

 value is based on the invoice date in the Debtors’ electronic books and records. As the dates for




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 new value are often based on the shipping dates for goods and the actual dates of service for

 services, this preliminary new value number is subject to adjustment. Accordingly, Plaintiff puts

 Defendant to its burden of proof to establish it is entitled to this new value.

        22.     Based upon Plaintiff’s review of the information, if any, provided by Defendant

 prior to filing this Complaint, and after performing Plaintiff’s own due diligence evaluation of the

 reasonably knowable affirmative defenses to avoidance of the Transfer(s), including the review

 and evaluation described in the two immediately preceding paragraphs, Plaintiff has determined

 that Plaintiff may avoid some or all of the Transfers even after taking into account Defendant’s

 alleged affirmative defenses.

        23.     During the course of this proceeding, Plaintiff may learn (through discovery or

 otherwise) of additional transfers made to Defendant during the Preference Period or that may be

 avoidable under other provisions of the Bankruptcy Code. It is Plaintiff’s intention to avoid and

 recover all avoidable transfers of property made by the Debtors to or for the benefit of Defendant

 or any other transferee, in accordance with the Bankruptcy Code and for the benefit of all creditors

 of the Debtors’ estates. Plaintiff reserves its right to amend this original Complaint to include: (i)

 further information regarding the Transfer(s), (ii) additional transfers, (iii) modifications of and/or

 revision to Defendant’s name, (iv) additional defendants, and/or (v) additional causes of action, if

 applicable (collectively, the “Amendments”), that may become known to Plaintiff at any time

 during this adversary proceeding, through formal discovery or otherwise, and for the Amendments

 to relate back to this original Complaint.




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                                      CLAIMS FOR RELIEF

                                    First Claim for Relief
                 (Avoidance of Preference Period Transfers – 11 U.S.C. § 547)

        24.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein, to the

 extent they are not inconsistent with allegations contained in this First Claim for Relief.

        25.     As more particularly described on Exhibit A attached hereto and incorporated

 herein, during the Preference Period, the Debtor(s) identified on Exhibit A made each Transfer to

 or for the benefit of Defendant in an aggregate amount not less than $620,666.00.

        26.     Each Transfer was made from the Debtor(s) identified on Exhibit A, and constituted

 transfers of an interest in property of the transferring Debtor(s) as identified on Exhibit A.

        27.     Defendant was a creditor at the time of each Transfer by virtue of supplying the

 Debtor(s) identified on Exhibit A the goods and/or services identified in this Complaint and in the

 Agreements, as more fully set forth on Exhibit A hereto, for which the Debtor(s) identified on

 Exhibit A were obligated to pay following delivery in accordance with the Agreements.

        28.     Each Transfer was to or for the benefit of a creditor within the meaning of section

 § 547(b)(1) of the Bankruptcy Code because each Transfer either reduced or fully satisfied a debt

 or debts then owed by the Debtor(s) identified on Exhibit A to Defendant.

        29.     Each Transfer was made for, or on account of, an antecedent debt or debts owed by

 the Debtor(s) identified on Exhibit A to Defendant before such Transfers were made, as asserted

 by Defendant and memorialized in the Agreements, each of which constituted a “debt” or “claim”

 (as those terms are defined in the Bankruptcy Code) of Defendant prior to being paid by the

 transferring Debtor(s) as set forth on Exhibit A hereto.




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           30.   Each Transfer was made while the Debtors were insolvent. Plaintiff is entitled to

 the presumption of insolvency for each Transfer made during the Preference Period pursuant to

 section 547(f) of the Bankruptcy Code.

           31.   Each Transfer was made during the Preference Period, as set forth on Exhibit A.

           32.   As a result of each Transfer, Defendant received more than Defendant would have

 received if: (a) the Debtors’ chapter 11 cases were cases under chapter 7 of the Bankruptcy Code;

 (b) the Transfers had not been made; and (c) Defendant received distributions on account of its

 debts under the provisions of the Bankruptcy Code. As evidenced by the Debtors’ schedules filed

 in the underlying bankruptcy case as well as the proofs of claim that have been received to date,

 and as described in the Plan and Disclosure Statement, the Debtors’ liabilities exceed their assets

 such that the Debtors’ unsecured creditors will not receive payment of their claims in full from the

 Debtors’ bankruptcy estates.

           33.   In accordance with the foregoing, each Transfer is avoidable pursuant to section

 547(b) of the Bankruptcy Code.

                                      Second Claim for Relief
                   (Avoidance of Fraudulent Conveyances – 11 U.S.C. § 548(a)(1)(B))

           34.   Plaintiff hereby incorporates all previous allegations as though fully set forth

 herein, to the extent they are not inconsistent with allegations contained in this Second Claim for

 Relief.

           35.   To the extent one or more of the Transfers identified on Exhibit A was not made

 on account of an antecedent debt, was a prepayment for goods and/or services subsequently

 received, or was a transfer made by one Debtor without a corresponding transfer into the payment

 account by the Debtor incurring the debt, Plaintiff pleads in the alternative that the Debtor(s)




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 making such transfer(s) did not receive reasonably equivalent value in exchange for such

 transfer(s) (the “Potentially Fraudulent Transfers”); and

         A.      The Debtors were insolvent as of the date of the Transfer(s), or became insolvent

 as a result of the Transfer(s); or

         B.      The Debtors were engaged, or about to engage, in business or a transaction for

 which any property remaining with the Debtors was an unreasonably small capital; or

         C.      The Debtors intended to incur, or believed they would incur, debts beyond their

 ability to pay upon maturity.

         36.     Based upon the foregoing, the Potentially Fraudulent Transfers are avoidable

 pursuant to section 548(a)(1)(B) of the Bankruptcy Code.

                                          Third Claim for Relief
                             (Recovery of Avoided Transfers – 11 U.S.C. § 550)

         37.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein, to the

 extent they are not inconsistent with the allegations contained in this Fourth Claim for Relief.

         38.     Plaintiff is entitled to avoid the Transfer(s) pursuant to section 547(b) of the

 Bankruptcy Code, and any Potentially Fraudulent Transfers pursuant to section 548 of the

 Bankruptcy Code (collectively, the “Avoidable Transfers”).

         39.     Defendant was the initial transferee of the Avoidable Transfer(s) or the immediate

 or mediate transferee of such initial transferee or the person for whose benefit the Avoidable

 Transfer(s) were made.

         40.     Accordingly, pursuant to section 550(a) of the Bankruptcy Code, Plaintiff is entitled

 to recover from Defendant the Avoidable Transfer(s), plus interest thereon to the date of payment

 and the costs of this action.




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                                   Fourth Claim for Relief
                    (Disallowance of all Claims – 11 U.S.C. § 502(d) and (j))

        41.      Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein, to the

 extent they are not inconsistent with allegations contained in this Claim for Relief.

        42.     Defendant is a transferee of transfers avoidable under sections 547 and/or 548 of

 the Bankruptcy Code, which property is recoverable under section 550 of the Bankruptcy Code.

        43.     Defendant has not paid the amount of the Avoidable Transfer(s), or turned over

 such property, for which Defendant is liable under section 550 of the Bankruptcy Code.

        44.     Pursuant to section 502(d) of the Bankruptcy Code, any and all Claims of

 Defendant and/or its assignee, against Plaintiff or the Debtors must be disallowed until such time

 as Defendant pays to Plaintiff an amount equal to the aggregate amount of the Avoidable

 Transfer(s), plus interest thereon and costs.

        45.     Pursuant to section 502(j) of the Bankruptcy Code, any and all Claims of

 Defendant, and/or its assignee, against the Debtors previously allowed by the Debtors or by

 Plaintiff, must be reconsidered and disallowed until such time as Defendant pays to Plaintiff an

 amount equal to the aggregate amount of the Avoidable Transfer(s).

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff requests that the Court grant the following relief against

 Defendant:

        A.      On Plaintiff’s First, Second, and Third Claims for Relief, judgment in favor of

 Plaintiff and against Defendant avoiding all of the Avoidable Transfers and directing Defendant

 to return to Plaintiff the amount of the Avoidable Transfers, pursuant to sections 547(b), 548, and

 550(a) of the Bankruptcy Code, plus interest from the date of demand at the maximum legal rate




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 and to the fullest extent allowed by applicable law, together with the costs and expenses of this

 action including, without limitation, attorneys’ fees;

        B.      On Plaintiff’s Fourth Claim for Relief, judgment in favor of Plaintiff and against

 Defendant disallowing any claims held or filed by Defendant against the Debtors or Plaintiff until

 Defendant returns the Avoidable Transfers to Plaintiff pursuant to section 502(d) and (j) of the

 Bankruptcy Code; and

        C.      Such other and further relief as this Court may deem just and proper.

 Dated: May 16, 2024
                                           ASK LLP

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